Case 3:08-cv-00924-D Document 51 Filed 12/08/11 Page1of6 PagelD 1214

December 8, 2011
From: Manuel A. Benavidez
2108 Meadow Glen

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Irving, TX 75060 | py ENED

 

To: U.S District Judge, Sidney Fitzwater |

DEC ~ 8 201!

| CLERK, US. DISTRICT CouRtT
> NORTHERN DISTRICT OF TE
goom 1528 2 ERE ES DISTRICT OF TEXAS |

1100 Commerce Street

 

 

 

Dallas, TX 75242-1033
Subject: Irving Independent School District
Single Member Districts-Currents

2010 Census Data Draft Map Proposal

Dear Judge Fitzwater,

lam aware that Mr. Anthony E. Bond has made a complaint, complaining that IISD did not release
current data needed to draw a Single Member District plan/proposal on behalf of the Irving Minority
Community.

|, Manuel A. Benavidez, The plaintiff in Court Case 3;08CV924 come asking Judge Sidney Fitzwater, to
review the attached draft of a single member district map proposal constructed for the minority
community of Irving by Mr. Bill Betzen , and the 2010 Census data attached with the map.

Cordially yours,

Teg litel AP Lee,

Manuel A. Benavidez

  
 

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; Irving IDS 7-District Map
Draft #1 w/o overlay 12-8-11

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: k
The above districts boundaries were drawn using the elementary attendance zone overlay from Irving ISD.
Then those attendance zone boundaries were removed in the above map. Below are the demographics
produced by the 7 districts as designed in this FIRST DRAFT map above. This map still needs public
input and other additional work to focus on uniting communities of interest before it is ready for
presentation.

tion of area served

From Anglo % Black Hisp. Hisp. Asian | Asian
24,402 | Percent | Total VAP [Anglo VAP] "V7.5, vAP | VAP% | VAP | VAP %| VAP |VAP %

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Above demographics are from the first draft of a possible trustee district map, also above, for Irving ISD.
This is ONLY a draft. 12-7-11 Bill Betzen bbetzen@aol.com

 
Page 1| of 1
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Fw: lISD Has Given The Public a Nearly Impossible Request Without Access to Data Hide Details

FROM: Anthony Bond Friday, December 2, 2011 5:06 PM

  

THIS IS A COMPLAINT ABOUT THE SINGLE MEMBER DISTRICT VOTING FORM OF ELECTING TRUSTEES TO THE IRVING
INDEPENDENT SCHOOL DISTRICT( ISD). THE IISD IS CURRENTLY TRYING TO DECIDE WHETEHER TO DO IT
VOLUNTARILY OR NOT !

Re: Federal Court Case #3:08CV924, Benavides. v. Irving, in US District Judge, Sidney Fitzwater's Court
To The Voting Section Civil Rights Division of the US Justice Department,

My name is Anthnony E. Bond and | am the Founder of the Irving Branch of the NAACP. As you can see in the attached email to Dr.
Dana Bedden, Superintendent of the IISD | am complaining that our School Board has called for Public Hearings to consider whether
to go to Single Member Districts voluntarily or not. If you go to www.irvingisd,net you will see that the Board of Trustees has called for
3 Public hearings on Jan 5th 9th, and 10th to be followed by a special-called Board meeting on Jan 12th where the Board will vote on
whether to voluntarily adopt the Single Member District form of electing School Board Trustees or not.In the above referenced case
US District Judge, Sidney Fitzwater , using 2000 Census data turned down the Benavides case basically because he said the
numbers of Hispanic voters at that time did not support his ruling to force the IISD to adopt Single Member Districts. But, Judge
Fitzwater did say that once the 2010 Census data was available that this case could be reviewed with the updated Census data. |
believe the numbers are there now and in my opinion that is why the School Board is pursuing this voluntary course of action.But,
here is my complaint to you as outlined in the email to Dr. Bedden and, other IISD administrators and Board Members as well as the
ISD attorney, Jim Deatherage, and that is: IF THE IISD DOES NOT PROVIDE THE PUBLIC WITH ACCESS TO THEIR
MAPMAKING SINGE MEMBER DISTRICT CONSULTANT'S INFO IT IS IMPOSSIBLE FOR US TO SUBMIT A LEGITIMATE
PROPOSAL.

| ASK FOR YOUR ASSISATNCE IN THIS MATTER RIGHT AWAY?

Anthony E. Bond

4109 W.Northgate Dr. # 821
Irving, Texas 75062

Cell #- (214) 830-6719 |

----- Forwarded Message -----

From: Anthony Bond <aebond09@yahoo.com>

To: "dhedden@irvingisd.net' <dbedden@irvingisd.net>

Cc: Heather Ashley <hashley@irvingisd.net>; Valerie Jones <vjones@irvingisd.net>; "rhuffstetler@irvingisd.net” <rhuffstetler@irvingisd.net>;
"jwdassoc@flash.net' <jwdassoc@flash.net>; "ksturch@irvingisd.net" <ksturch@irvingisd.net>; "rdiaz@irvingisd.net" <rdiaz@irvingisd.net>; Whit Johnstone
<\WJohnstone@irvingisd net>

Sent: Friday, December 2, 2011 1:33 PM

Subject: ISD Has Given The Public a Nearly Impossible Request Without Access to Data

Dear Dr. Bedden,

| and many others who care deeply about the future of the IISD are quickly realizing after talking to redistricting experts that the Board
of Trustees has asked us, the public, to accomplish a nearly impossible task without spending a lot of money , having access to
redistricting experts and access to map overlays of the IISD and it's demogphics in terms of voting age population. | copied you
yesterday thanking you and your staff for providing me with the open records info | requested. YET, EVEN THE REDISTRICTING
EXPERT WHO IS WORKING WITH US SAYS WITHOUT ACCESS TO THE DISTRICT'S CONSULTANT'S MAP INFORMATION
YOU HAVE ASKED US, THE PUBLIC, TO DO THE IMPOSSIBLE ALMOST.

Therefore, | am asking you and everyone copied in this email to consider doing what the City of Dallas did recently when they asked
the public to submit redistricting plans to the city. That is the City of Dallas provided the demograher's info to the public.( In other
words what the 1ISD consultant is working with to provide you all guidance on Single Member Distiricts was made availaible to the
public.) The City of Dallas made this data availiable on site at a certain designated place at the City. My question to you all is why can
not the IISD do the same thing to anyone with standing in the IISD who wants to submit you all a redistricting plan?

| thought the whole purpose of this public process we are engaging in inclusive of the 3 public meetings on Jan 5th, 9th and ,i0th was
designed to see if this could be resolved outside of fighting this with attorneys in a court of Law.Some feel( after researching what is
required to submit a coherent and meaningful redstricting plan and to be abscent of acesss to this data that | am telling you is
necessary for one to have), that the Board has sent all of the public on a meaningless wild goose chase and that this whole process
is nothing more than a delay tatic to avoid a lawsuit from being filed. | pray that is not the case, and | personally do not feel that
way.Your prompt response to my questions here will be greatly appreciated. Thank You and,

God Bless You All!

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RE: Open Records Request Hide Details

Wednesday, December 7, 2011 12:52 PM

 

Dear Anthony,

It seems there has been a lot of other communication after these e-mails, and | may be a bit behind on something (especially the technology side) but | wanted to give you my
understanding of the situation.

The Board will be discussing releasing illustrative map(s) at our Monday meeting as part of the preparation for the public hearings in January. As | understand it, the Administration
(and certainly the Board) does not have the extensive GIS resources you've inquired about because we have contracted a good portion of that out to our attorney. There is one
piece of software that we do have, and Jim is working through the legal concerns regarding allowing someone other than the license-holder to use it. However, even if we do have
that software, | don't know believe it has current demographic data in it because we have not been doing this work in-house. Access to all of the current data would be owned by
our contractor.

| believe that much of what we have discussed as a Board with our consultant attorney falls under attorney-client privilege, and we will have to take specific action to release any of
that to the public. As you know, | cannot act on behalf of the Board nor can we act outside of a regularly-called meeting. I'm sure there will be discussion with the attorneys present
on Monday regarding your information request, but we cannot act until Monday at that Board Meeting to release any of that privileged material.

It looks like your expert has been in touch with Mr. Heath, and that was what | was going to recommend happen so that he can get a more complete picture of the situation. Unlike
the City of Dallas, we do not have an in-house staff working with district-owned data and software on the districting question, so it just makes this whole situation more complicated
and interwoven.

| understand your desire to begin working on maps, and we are definitely not trying to be obstructionist -- | just don't think we have ail of the information you're requesting available
from within the district. I'm not sure exactly what will be released on Monday (obviously we haven't had our conversations yet with the attorneys), but | believe something will come
out of it that could be helpful as you prepare maps. Dr. Bedden has sent a more detailed e-mail explaining what we do have, and where we stand, but as [ said, | wanted to share
my perspective.

Heather Ashley
Board President
Irving Independent School District

From: Anthony Bond [aebond0S@yahoo.com]
Sent: Tuesday, December 06, 2011 12:15 PM
To: Heather Ashley

Ce: Dana Bedden; jwdassoc@flash net
Subject: Fw: Open Records Request

 

Dear Heather,

lam asking you as Board President for this same open records request since Dr. Bedden clearly sttes that the ISD Administration does not have this data that | am requestiong..
Also, our redistricting expert has just informed me that he has discovered via the internet that the IISD does have the software sytem that contains the info we need in order to
derive the data we need to draw Single Member Ditricts Plans/proposals. | am seeking an opinion from the Texas Attornet General's Office about the IISD"'s failure to supply us
with this info that we now have evidence of that the IISD has access to.

Thank You and God Bless You !

-~-- Forwarded Message ---~-

From: Dana Bedden <DBedden@irvingisd.net>

To: Anthony Bond <aebond0S@yahoo.com>; Karen Sturch <KSturch@irvingisd.net>

Cc: Heather Ashley <hashley@irvingisd.net>; "Wwdassoc@flash net" <jwdassoc@flash.net>; Ralph Diaz <RDiaz@irvingisd.net>
Sent: Tuesday, December 6, 2011 11:23 AM

Subject: RE: Open Records Request

Mr. Bond:

| am sorry you feel that you are having difficulty with getting information related to certain resources. Please once again be advised of the following that | shared when you visited
our Office.

1) Any request involving maps does not exist with the administration
2) Any request involving GIS resources related to the single member district process does not exist with the administration
3) The administration does not have any maps or proposed maps

All request for information related to the this process is solely a Board and the Board Attorney's process to guide and direct, the administration will support the process as expected
and directed by the Board and respond to any and all request to support external organizations as directed by the Board

Any information that we do have will be provided as required by law.
Please see below response to your latest questions.

Dr.Dana T. Bedden

Where Children Come First

Contact Information:

Dr. Dana T. Bedden

Superintendent of Schools

Irving independent School District

2621 West Airport Freeway

Irving, Texas 75062

972-600-5001
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www. irvingisd.net<http:/Avww.irvingisd.net>

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<http:/Avww. irvingisd.net/marketing/default.htm>

From: Anthony Bond [mailto:;aebondO098@yahoo.com]
Sent: Tuesday, December 06, 2011 7:35 AM

To: Dana Bedden; Karen Sturch

Gc: Heather Ashley; jwdassoc@fiash.net

Subject: Open Records Request

Dr, Bedden,

1am requesting the following information as an open records request:

|, The date Mr Heath was hired to begin to work on the issue of Single Member Districts( SMD) for the ISD — we will attempt to get this information (in progress)

2. The amount of money to date the IISD has paid Mr Heath for his services rendered concerning the issue of SMD — we will attempt to retrieve this information from the business
office (in progress)

3. A link to any and all software that is accessible to the public which Mr. Heath has used and is using to derive map proposals for SMD for the IISD — the administration does not
have any link or software that Mr. Heath has used or may be using.

4. A copy of any map plans/proposals Mr Heath has derived for the IISD — the administration does not have any maps or plans.

Time is of the essence in this whole process of the IISD Board asking for SMD plans /proposals from the public. As | have stated to you all earlier, in every case | have researched
that is similar to the process the IISD is currently going through the access to the data used to draw SMD plans/proposals was made availiable to the public. In addition, | would
like to point out on record, that Mr. Heath is being paid with our tax dollars so he is the attorney who should look out for waht is best for all of us with standing in the IISD. Your
prompt attention to this open records request will be greatly appreciated. If you have any questions of me , please call me at 214 830 6719.

Thank You All and God Bless You !

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I.S.D. not to discriminate on the basis of race, color, national origin, gender or handicap in its vocational programs, services or activities as required by Title VI of the Civil Rights
Act of 1964, as amended; Title IX of the Educational Amendments of 1972; Section 503 and 504 of the Rehabilitation Act of 1973.

Reply to Heather Ashley a

http://36ohk6dgmcd1n-c.c.yom.mail.yahoo.net/om/api/1.0/openmail.app.invoke/36ohk6dg..._ 12/8/2011
